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 Supplementary Information

The slander from Caroline L. towards myself has been taking place for quite some time. When I
started working for AmeriCorps State and National Georgia from 2014-2015, I wrote/emailed
AmeriCorps State and National three (3) grievances with Caroline L., and Anthony C. ccd. These
three grievances were emailed to them in February 2015 and March 2015.

The grievances in February referenced:

1) Caroline consistently pulling me in her office and threatening to let me go via either writing
   me up or giving me low scores on the member evaluation form. It further details harassment,
   her putting her finger in my face, and slander by her.
2) A physical assault by corps member Johanna “Jo” during a morning meeting on November
   17, 2014 in which I told Caroline L. about this incident and she said, “Oh, that did not hap-
   pen, I think you are just reading into the situation negatively.” This member was a one of
   three individuals she formed a clique with throughout the duration of our service so she
   brushed this off.
3) Details of discussion I had with Caroline L. and Anthony C. concerning all of the slanderous
   gossip team members were partaking in which was effecting a lot of people and causing divi-
   sion ( I never said any names that time). Since Caroline L. was the supervisor and had formed
   a clique and favoritism (that resulted in biasses) towards the three girls that was partaking in
   much of the slanderous gossip and bullying towards team members, she had a lot of mis-in-
   formation from that gossip, and rather than her handling situations in a professional manner,
   she became biased and made situations worse. She turned the situation around on me and
   made it appear that I was breaking up her team (which she told me on a specific day that I
   documented in my grievance “that I was breaking up her team”). From what I observed, the
   corps members serving during this time were rather young, and were VERY easily persuaded
   and influenced by Caroline L. (myself not included). She would persuade them in individual
   meetings she had with them that I was causing issues, being rude, etc, when it was in fact her-
   self and the three individuals she formed a clique with. The three individuals she formed a
   clique with were Johanna “Jo”, Caleigh Y., Michele M., and Kristen (who was a close fourth
   person).
4) An incident where I briefly explain Caroline L. slandering me towards the newer corps mem-
   bers, one, being Asha (I don’t have her last name). In the beginning of my employment with
   AmeriCorps State and National Georgia, I was assigned a roommate (one of the women Caro-
   line L. formed a clique with); that roommate situation did not work out on her end and she
   was reassigned. The three/four girls Caroline formed a clique with got first choice with who
   they wanted to room with and where. By this time, Asha had just been hired on. She picked
   me to room with and she was told by Caroline L. and Tony C., “no, she could not room with
   me.” Everyone had a roommate but me. Caroline L. had isolated me with my room situation
   and group members via slander. One day after entering my room on a late night and seeing
   my room door open is when I decided to resign (by this time the roommate had been long
   gone and removed her stuff, so it definitely was not an incident of her needing anything out
   the room).
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On the day March 20, 2015, (morning) I emailed my resignation to AmeriCorps Stated and Na-
tional Georgia and Caroline L. and Tony C., I was on my way to the bus because we had a ser-
vice project that morning. I stopped in the cafeteria, and Tony C. was there, he said, “what do
you think you are doing, is everything ok?” I said “yes”. He said, “you just put in your resigna-
tion, I thought we were working it out.” I said, “yes, I think it was the best option.” He said, “oh
no, you need to get your stuff and get yourself out of here, you can’t stay here.” Based on how
Tony looked at me while he made his statement, it was very eerie. Out of concern, I decided to
audio record my resignation (which I still have for documentation). He was very upset. I was told
to meet with him and Nandi C. down at the cottages where we lived so I could gather my belong-
ings and leave which I did within 30 minutes (within that thirty minutes I filled out paper work,
and he too provided me a low evaluation performance sheet which I have for documentation
purposes). After I packed my stuff in my car where we lived, I remembered that corporate was
coming to the campus so I drove up to the Youth Villages school (by this time Tony made his
way back up to the Youth Villages office/school area) and as I waited in the reception area of
Youth Villages, Tony C. came out and said, “You no longer work here, you need to leave imme-
diately.” I left and begin walking back to my car to leave. The AmeriCorps office was enroute to
the parking lot where my car was so I swung by the office to talk with Caroline L. concerning
how my resignation was being handled, and before I could say anything to her as she was just
entering the door as I came into the AmeriCorps office, she said, “you no longer work here, you
need to leave.“ She said, “No one else is going to hire you nor within the Americorps organiza-
tion, and Im going to make sure of that.” Upon sending my resignation and seeing their response
(how Caroline L. and Anthony C. acted and handled the situation) is when I followed back up via
email and mentioned to them (AmeriCorps State and National, Caroline, Anthony and YouthVil-
lage’s school principal/ceo Miss Knollmeyer) “why was I being let go on the same day when the
individual who brought drugs on campus via the AmeriCorps agreement contract, was not let
go.”


Further Details and Information


1) No response from Corporate (AmeriCorps State and National) via three grievances I sent via
email. I sent the grievances on February 8, 2015, March 2, 2015, and March 23, 2015).
2) I was not allowed to fill out any on-campus EEO complaint form, and nothing on-site was
done regarding the grievances I wrote, instead, I was retaliated against via continues slander, low
performance evaluation scores, and threats of being fired.
3) The day of my resignation, corporate visited, but I was not allowed to see them via Caroline
and Tony instructions. I do not know why they were visiting. Sometime in January 2015 or Feb-
ruary 2015, a Georgia Americorps rep visited the campus but I don’t know what the reason was
for. No one from AmerCorps/AmeriCorps State and National ever reached out, the only person
that reached out was Youth Village’s school principal Ms Knollmeyer who got a written/verbal
statement from me (I have that documentation as well).
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4) The day after I left AmeriCorps State and National Georgia, I called the local Atlanta Ameri-
Corps office to obtain further insight on the reasons of them telling me to leave the day of, and
they automatically resorted to telling me that I did not qualify for the school grant of either
$5,700 or the cash payout of $1,500. My reasons for calling them had nothing to do with the
grant or the cash pay out, nevertheless, the individual at Georgia Department of Community Af-
fairs at the Georgia AmeriCorps State and National office automatically decided to state this au-
tomatically without providing me any information or further details on why I was told to leave
that day.

I have all the detailed documentation, dates, and times of the incidences that happened on the
Americorps site in Georgia, as well as emails (grievances) I sent to corporate which includes the
text of drugs being found on campus, the low performance evaluation, and audio recordings of
the day of my resignation. They should still have my documented emails.

I would argue that this was a very very vicious send off for somebody just putting in a resigna-
tion letter. It was very vicious. The two weeks I gave them would have better assisted me in the
plans I was making to transition from one place to another, but since they told me to leave that
day, I had nowhere to go being that I moved from Texas to Georgia for community service. I was
homeless for a couple of months; eventually when I did get a place to stay, things were so rocky I
was threatened with eviction when I eventually did get a place to live (which I have documenta-
tion of), or I was in spaces that was not healthy for me. This vicious send off by them, and the
slander beforehand and that followed afterwards caused a lot of emotional distress.
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Exhibits

These are the low scores I was provided on the same day (within minutes) that I put in my
resignation with AmeriCorps Georgia; another form of retaliation.




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